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 5
 6
       Attorney for Plaintiff
 7     Mohammad Ali Hedayati
 8
 9
10                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
11                                    SOUTHERN DIVISION
12     MOHAMMAD ALI HEDAYATI,                      Case No. 8:16-cv-00846-DOC-DFM
13
                                 Plaintiffs,       PLAINTIFF’S OBJECTION TO
14            v.                                   DEFENDANT’S APPLICATION TO THE
                                                   CLERK TO TAX COSTS FOR (1)
15     THE PERRY LAW FIRM, APLC; AND               REPORTER’S TRANSCRIPTS PER L.R. 54-
       DOES 1-10, INCLUSIVE                        3.4 AND (2) CERTIFICATION,
16                                                 EXEMPLICATION AND REPRODUCTION
                                                   OF DOCUMENTS PER L.R. 54-3.10
17                               Defendants.
18
                                                   LOCAL RULE 54-2.2 AND PLAINTIFF’S
19                                                 OBJECTION TO THE ENTIRETY OF
                                                   DEFENDANT’S COST CLAIM
20
                                                   Trial: May 31st, 2017
21                                                 Judge: Hon. David O. Carter
                                                   Entry of Judgment: November 30th, 2017
22
23
             PLAINTIFF MOHAMMAD ALI HEDAYATI’S OBJECTION TO
24        DEFENDANT’S APPLICATION TO THE CLERK TO TAX COSTS IN ITS
25                              ENTIRETY.
26
             Pursuant to Local Rule 54-2.2, Plaintiff Mohammad Ali Hedayati (“Plaintiff”)
27
       hereby objects in its entirety to the two items specified on Defendant The Perry Law
28

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 1     Firm, APLC’s (“Defendant”) Application to the Clerk to Tax Costs. Specifically,
 2     Plaintiff objects to Defendant’s Application for (1) Costs for Reporter’s Transcripts per
 3     L.R. 54-3.4 and (2) Certification, Exemplification and Reproduction of Documents per
 4     L.R. 54-3.10. For simplicity purposes, the two items will be identified as “Costs”, unless
 5     otherwise noted.
 6
                                           INTRODUCTION
 7
 8           Plaintiff’s case was brought under the Fair Debt Collection Practices Act
 9     (“FDCPA) and culminated with a one-day bench trial on May 31st, 2017. On October
10     27th, 2017, Judge David O. Carter issued the Court’s “Findings of Fact and Conclusions
11     of Law” (Dkt. 90) and concluded Defendant did not violate the FDCPA.
12           On November 8th, 2017, Plaintiff objected to the [Proposed] Judgment pursuant to
13     Local Rule 52-7 (Dkt. 91) because there was no finding Plaintiff pursued its case in bad
14
       faith and for purposes of harassment, which must first occur pursuant to 9th Circuit
15
       decisional law before a Defendant is entitled to its costs or attorney’s fees pursuant to 15
16
       U.S.C. § 1692k(a)(3).
17
             On November 30th, 2017, the Court sustained Plaintiff’s objection to the Proposed
18
       judgment and ordered Final Judgment against Plaintiff, and ordered the findings of fact
19
       and conclusions of law (Dkt. #90) were hereby judgment of this Court and Defendant is
20
       the prevailing party. (Dkt. #92).
21
                                             ARGUMENT
22
23     1.    Defendant’s Requests for Costs Must Be Denied in its Entirety Because There
             Was No Finding Plaintiff Pursued Its Case in Bad Faith and For Purposes of
24
             Harassment.
25
26           In an FDCPA case, Costs may only be obtained by a Defendant upon satisfying

27     certain conditions. (1) Defendant must prevail; (2) Defendant must establish Plaintiff’s
28     pursuit of the case was in bad faith; and (3) Defendant must establish Plaintiff’s pursuit

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 1     of the case was for harassing Defendant.
 2
 3            On a finding by the court that an action under this section was brought in
              bad faith and for the purpose of harassment, the court may award to the
 4            defendant attorney’s fees reasonable in relation to the work expended and
 5            costs.
 6
       15. U.S.C. § 1692k(a)(3); emphasis added.
 7
       2.     9th Circuit Decisional Law Holds Defendant is Not Entitled to Its
 8
              Costs Per 15 U.S.C. § 1692k(a)(3) As There Has Been No Finding Plaintiff
 9            Brought the Action in Bad Faith and For Purpose of Harassment.
10
              In Rouse v Law Offices of Rory Clark 603 F.3d 699 (9th Cir. 2010), the
11
       court held “The FDCPA’s remedial purpose is served by interpreting §
12
       1692k(a)(3) as authorizing an award of attorneys’ fees and costs only upon a
13
       finding that plaintiff brought the action in bad faith and for purpose of
14
       harassment.” Id. at 705. “...[T]he FDCPA’s express mention of costs further
15
       supports that Congress intended to condition an award of costs to a prevailing
16
17
       defendant upon a finding of bad faith and harassment on plaintiff’s part.” Id. at

18     706.

19                   i.    Plaintiff’s Objection to Defendant’s Application to Tax
                           Costs Must Be Sustained in Its Entirety Because There is
20                         No Judicial Finding Plaintiff Brought its Case in Bad Faith
21                         and For Purposes of Harassment.
22
              Defendant has failed to satisfy the conditions needed to recoup any of its
23
       Costs. As discussed above, the Judgment entered by the Court (Dkt. 92) confirms
24
       there was no finding Plaintiff brought its case in bad faith and for purposes of
25
       harassment.
26
              Likewise, Defendant’s Application to Tax Costs is void of any reference or
27
       suggestion Defendant is entitled to its Costs. Form CV-59 completed by
28

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 1     Defendant contains the below mandate:
 2
 3
 4
 5           Defendant’s Application is void of any Order entitling Defendant to recoup
 6     the Costs for (1) Reporter’s Transcripts per L.R. 54-3.4 in the amount of
 7     $1,818.72 and (2) Certification, exemplification and reproduction of documents
 8     per L.R. 54-3.10 in the amount of $383.55.
 9
10
       3.    Defendant’s Bill of Costs in Not Supported by Evidence.
11
             Even if Defendant’s requests for Costs were not wholly barred for the
12
       reasons stated above, the Bill of Costs is inappropriate and insufficiently
13
       supported with respect to the Item 1 and Item 2 listed, as respectively detailed
14
       below.
15
             i.     Defendant is not entitled to Item 1 Reporter’s Transcripts
16                  $1,818.72 because it was not requested by the Court or prepared
17                  to stipulation as required by Local Rule.
18
             L.R. 54-3.4 Reporter’s Transcripts permits the cost of the original and
19
       one copy of all or any part of a trial transcript conditioned the Reporter’s
20
       Transcript is requested by the Court or prepared pursuant to stipulation.
21
             As discussed above, Defendant’s Application is void of any Order or
22
       Stipulation regarding Reporter’s Transcripts. Thus, Plaintiff’s objection to
23
       Defendant’s Application To Tax Costs “Item 1: Reporter’s Transcripts $1,818.72”
24
       must be sustained.
25
26
             ii.    Defendant is not entitled to Item 2 Certification, exemplification and
27                  reproduction of documents $382.55 as Defendant fails to substantiate
28
                    amount claimed as required by Local Rule.

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 1
 2           Defendant claims it incurred (1) $332.55 to copy documents; (2) $25

 3     document fee to obtain deed for 30092 Santa Margarita Pkwy; and (3) document
 4     fee for obtain deed for 42 Hallcrest, Ladera Ranch. See pg #3-4 Defendant’s
 5     Application for Clerk to Tax Costs (Dkt. 93). Yet, in reviewing the remaining
 6     pages #5-18, Defendant has failed to include any receipts for the Costs claimed to
 7     copy documents of $332.55 or receipts to obtain the deeds for the respective
 8     addresses.
 9           This showing is non-existent and insufficient as Defendant must include its
10     receipts for all Costs alleged. Additionally, as Defendant’s clerical staff is the
11     same as the clerical staff for Defendant’s attorney, it’s logical all the document
12     copying was utilized by on-site printers Defendant has in its office as the copying
13     supplies (printers, paper, ink, etc.) is shared by both Defendant and Defendant’s
14
       attorney.
15
                                        CONCLUSION
16
             Defendant’s request for $2,201.27 in Costs must be denied in its entirety. Plaintiff
17
       reserves its objections to an award of any Costs whatsoever.
18
19
          Dated: December 12th, 2017                        Law Office of Andrew P Rundquist
20
21                                                          By: /s/ Andrew P Rundquist
22
                                                                   Andrew P Rundquist, Esq.

23                                                                 Attorney for Plaintiff
24                                                                 Mohammad Ali Hedayati
25
26
27
28

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 1                                        PROOF OF SERVICE
 2
 3
       I am a resident of the State of California, over the age of 18 years, and not a party to the
 4
 5     within action. My business address is Law Office of Andrew P Rundquist, 501 W
 6     Broadway Suite A144 San Diego, CA 92101. On December 12th, 2017, I served the
 7
       within document(s):
 8
 9           PLAINTIFF’S OBJECTION TO DEFENDANT’S APPLICATION TO THE CLERK TO
             TAX COSTS FOR (1) REPORTER’S TRANSCRIPTS PER L.R. 54-3.4 AND (2)
10           CERTIFICATION, EXEMPLICATION AND REPRODUCTION OF DOCUMENTS PER
             L.R. 54-3.10
11
12
13
14           X      CM/ECF – by transmitting electronically the document(s) listed above to
15                           the electronic case filing system on this date before 11:59 p.m.
                             The Court’s CM/ECF system sends an e-mail notification of the
16
                               filing to the parties and counsel of record who are registered
17                             with the Court’s CM/ECF system.
18
             I declare under penalty of perjury under the laws of the State of California the
19     above is true and correct. Executed on December 12th, 2017, at San Diego, CA.
20
21                                                                 By: /s/ Andrew P Rundquist
                                                                   Andrew P Rundquist
22
23
24
25
26
27
28

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